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ORIGINAL
                          IN THE LINITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

   UNITED STATES OF AMERICA

                                                          NO. 4:23-CR-309-O

  JAVTER ANAYA (0r)


                                       PLEA AGREEMENT

            Javier Anaya, the defendant; JeffKing, the defendant's attomey; and the United

  States of America (the govemment) agree as follows:

        I   .       Rights of the defendant: The defendant understands that the defendant

  has the rights:


                    a.    to plead not guilty;

                    b.    to have a trial by jury:


                          to have the defendant's guilt proven beyond a reasonable doubt;


                    d.    to confront and cross-examine witnesses and to call witnesses in the
                          defendant's defense; and

                    e.    againstcompelledsellincrimination.

            2.    Waiver of rights and plea of guilty: The defendant waives these rights

  and pleads guilty to the offense alleged in Count One ofthe Information, charging a

  violation of l8 U.S.C. $ 2252A(a)(2), that is, Receipt of child pornography; and Count

  Two, charging a violation of l8 U.S.C. g 2252A(a)(5)(B).




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The defendant understands the nature and elements of the crime to which the defendant is

pleading guilty, and agrees that the factual resume the defendant has signed is true and

will be submitted as evidence.

       3.     Sentence: The minimum and maximum penalties the Court can impose for

each count include:

       Count One:

              a.        imprisonment for a period not less than 5 years, and not to exceed 20
                        years;


              b         a fine not to exceed $250,000, or twice any pecuniary gain to the
                        defendant or loss to the victim(s):


              c         a term ofsupervised release for each count ofat least five years up
                        to any term ofyears to life which is mandatory under the law and
                        will follow any terrn of imprisonment. If the defendant violates any
                        condition ofthe term ofsupervised release, the Court may revoke
                        such release term and require that the defendant serve an additional
                        period of confinement. Also, in a revocation of multiple counts, the
                        Court may run sentences consecutively;


              d         a mandatory special assessment of $ 100 per count; plus an
                        additional $5,000 per count for any count ofconviction qualifring
                        under l8 U.S.C. $ 3014(A);

              e         an assessment required by 18 U.S.C. 5 2259 A in an amount
                        determined by the Court not to exceed $35,000;

              f.        restitution of not less than $3,000 per victim. which is mandatory
                        under the law pursuant to l8 U.S.C. $ 2259, and which the defendant
                        agrees may include restifution arising from all relevant conduct, not
                        limited to that arising from the offense of conviction alone; and

              g.        costs of incarceration and supervision.



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       Count Two:

              a.        imprisonment for a period not to exceed 20 years;

              b.        a fine not to exceed $250,000, or twice any pecuniary gain to the
                        defendant or loss to the victim(s);


                        a term of supervised release for each count ofat least five years up
                        to any term ofyears to life which is mandatory under the law and
                        will follow any term of imprisonment. If the defendant violates any
                        condition ofthe term ofsupervised release, the Court may revoke
                        such release term and require that the defendant serve an additional
                        period of confinement. Also, in a revocation of multiple counts, the
                        Court may run sentences consecutively;

              d         a mandatory special assessment of$ 100 per count; plus an
                        additional $5,000 per count for any count ofconviction qualifying
                        under l8 U.S.C. $ 30la(A);

              e         an assessment required by 18 U.S.C. I 2259A in an amount
                        determined by the Court not to exceed $17,000;

              f.        restitution of not less than $3,000 per victim, which is mandatory
                        under the law pursuant to 18 U.S.C. $ 2259, and which the defendant
                        agrees may include restitution arising from all relevant conduct, not
                        limited to that arising from the offense ofconviction alone; and

              g.        costs of incarceration and supervision


       4.     Court's sentencing discretion and role ofthe Guidelines: The defendant

understands that the sentence in this case will be imposed by the Court after consideration

ofthe United States Sentencing Guidelines. The guidelines are not binding on the Court.

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attomey, but understands no one can predict with cerlainty the outcome of the Court's


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consideration ofthe guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea ifthe defendant's sentence is higher than expected. The

defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

       5.        Defendant's agreement. The defendant shall not knowingly provide false

information to the U.S. Probation Office (USPO), the Court, or the govemment relating

to the offenses of conviction and all relevant conduct, or any information the defendant

must provide related to this agreement.

       6.        lVlandatory special assessment: The defendant agrees to pay the U.S.

District Clerk the amount of $200 and, unless the Court finds the defendant indigent

specifically for the purpose ofthis paragraph, pursuant to l8 U.S.C. I 3014(a), an

additional amount of$10,000, in satisfaction ofthe mandatory special assessments prior

to sentencing.

       7.        Financial Obligations: The defendant understands that any financial

obligation imposed by the Court for restitution, fines, or special assessments is due and

payable immediately. In the event the Court imposes a schedule for payment, the

defendant agrees that such a schedule represents a minimum payment obligation and does

not preclude the U.S. Attomey's Office from pursuing any other means by which to

satisfu the defendant's full and immediately enforceable financial obligation. The

defendant understands that the defendant has a continuing obligation to pay in full as

soon as possible any financial obligation imposed by the Court. The defendant further

agrees as follows:



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               a.   The defendant agrees that the financial statement, with any supponing

                    documents, the defendant provides to the USPO may be shared with the

                    Court and the govemment.

               b. The defendant shall submit to interviews by the govemment and the
                    USPO regarding the defendant's capacity to satisff any fine, restitution,

                    or special assessment.

               c    The defendant expressly authorizes the United States Attomey's Office

                    to immediately obtain a credit report on the defendant to evaluate the

                    defendant's ability to satisfr any financial obligation imposed by the

                    Court.

       8.      Restitution: The defendant agrees that the Court is authorized to order, and

the defendant agrees to pay, restitution for all loss resulting from the offenses of

conviction and all relevant conduct. in an amount to be determined bv the Court.

Defendant agrees that, for purposes of this paragraph. restitution for relevant conduct

shall include all acts and omissions described in USSG A 1B1.3(a)(1)(A) and (1)(B), as

well as all acts and omissions that were part of the same course of conduct or common

scheme or plan, regardless whether the grouping rules in USSG $ 3D I .2 might apply to

computation of the advisory imprisonment range.

       9.      Destruction of property: The defendant waives and abandons any and all

right, title, claim or interest, he may have in all properff seized during the investigation of

the defendant from his residence and leading to the Indictment in this case, which is

specifi cally listed below:



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           a. One Apple iPhone 13 Pro Max; model number 42484, IMEI number
           350566101147078.

       Defendant affirms that no other person has an interest in the listed property and

agrees that the govemment may destroy or otherwise dispose of such property, including

but not limited to any and all images, files, documents or other information that may be

electronically stored on or within the listed property, at its discretion. The defendant

agrees there was reasonable cause for tle seizure of the subject property and releases,

holds harmless, and forever discharges the govemment, its officers, agents, servants, and

employees, its heirs, successors, or assigns, or any state or local authorities, either in their

official or individual capacities, from any and all claims, causes ofaction, suits,

proceedings, debts, dues, contracts, judgments, damages, and/or demands whatsoever in

law or equity that the defendant and his heirs, successors, or assigns ever had, now have,

or may have in the future, in relation to the subject property. The defendant further

agrees that he will not seek costs or attomey fees in connection with the seizure,

abandonment, or destruction ofthe subject property.

       10. Government's agreement: The govemment will not bring any additional
charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. This agreement is limited to the United States Attorney's

Office for the Northem District ofTexas and does not bind any other federal, state, or

local prosecuting authorities, nor does it prohibit any civil or administrative proceeding

against the defendant or any property.




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          ll.   Violation of agreement: The defendant understands that if the defendant

violates any provision ofthis agreement, or ifthe defendant's guilty plea is vacated or

withdrawn, the govemment will be fiee from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge, including the

reinstatement of charges dismissed pursuant to this plea agreement. In the event of such

a violation, vacatur, or withdrawal, the defendant waives all objections based upon delay

in prosecution. Ifthe plea is vacated or withdrawn for any reason other than a finding

that it was involuntary, the defendant also waives all objections to the use against the

defendant of any information or statements the defendant has provided to the

govemment, and any resulting leads.

          12. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

          13. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant's rights, conferred by 28 U.S.C. $ l29l and l8 U.S.C.

$3742,to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the Court. The defendant further waives the defendant's

right to contest the conviction, sentence, fine and order of restifution or forfeiture in any

collateral proceeding, including proceedings under 28 U.S.C. $ 2241 and 28 U.S.C.

s 22ss.




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The defendant, however, reserves the rights (a) to bring a direct appeal of(i) a sentence

exceeding the stafutory maximum punishment, or (ii) an arithmetic error at sentencing,

(b) to challenge the voluntariness of the defendant's plea of guilty or this waiver, and (c)

to bring a claim of ineffective assistance ofcounsel.

        14. Representation ofcounsel: The defendant has thoroughly reviewed ali
legal and factual aspects of this case with the defendant's attomey and is fully satisfied

with that attomey's legal representation. The defendant has received from the

defendant's attorney explanations satisfactory to the defendant conceming each

paragraph ofthis plea agreement, each ofthe defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attomey, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.

       I   5. Entirety of agreement: This document is a complete statement of the
parties' agreement and may not be modified unless the modification is in writing and

signed by all parties. This agreement supersedes any and all other promises.

representations, understandings, and agreements that are or were made between the

parties at any time before the guilq, plea is entered in court.




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No promises or representations have been made by the United States except as set forth

in writing in this plea agreement.

       AGREED TO AND SIGNED this _t1ft ay of           &a*aofz-             ,2023.
                                          LEIGHA SIMONTON
                                          UNITED STATES ATTORNEY


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JAVIfd. ANAYA                            AISHA SALEEM
Defendant                                Assistant United States Attorney
                                         Texas State Bar No. 00786218
                                          801 Cherry Street, Suite 1700
                                         Fort Worth, Texas 76102
                                         Telephone : 817 -252-5200
                                         Facsimile: 817-252-5455
                                         Email : aisha. saleem@usdoj. gov




JEFF                                            WEIMER
Attorney for Defendant                   Deputy Criminal Chief


       I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.



                                                    lt - /€- L3
JAVIER ANAYA                             Date
Defendant




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      I am the defendant's attorney. I have carefully reviewed every part of this piea
agreement with the defendant. To my knowledge and beliel my client's decision to enter
into this plea agreement is an informed and voluntary one.


                                                  //- / f- z'J
JEFF KIN                                   Date
Attorney for Defendant


I have been advised, and understand, that under the Sex Offender Registration and
Notification Act, a federal law, I must register and keep the registration current in each of
the following jurisdictions: where I reside; where I am an employee; and where I am a
student. I understand that the requirements for registration include providing my name,
my residence address, and the names and addresses of any places where I am or will be
an employee or a student, among other information. I further understand that the
requirement to keep the registration current includes informing at least one jurisdiction in
which I reside, am an employee, or am a student not later than three business days after
any change of my name, residence, employment, or sfudent status. I further understand
that I am required to provide information relating to my intended travel outside the
United States. I have been advised, and understand,that failure to comply with these
obligations subjects me to prosecution for failure to register under federal law, 18 U.S.C.
S 2250, which is punishable by a fine or imprisonment or both.



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JAVIER ANAYA                              Date
Defendant


                                                  / /-( f - z J
                                          Date
Anorney




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